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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS
                                            WESTERN DIVISION

                                                                Civil Action No. 3:22-CV-30094-KAR

 JOYCE TAYLOR,
      Plaintiff,
                                                               DEFENDANTS’ ASSENTED TO
            v.                                                 MOTION TO DISMISS CLAIMS
                                                               AGAINST DEFENDANT
 SPRINGFIELD COLLEGE and                                       SPRINGFIELD COLLEGE BOARD
 SPRINGFIELD COLLEGE BOARD OF                                  OF TRUSTEES
 TRUSTEES,
      Defendants.



          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendants,

Springfield College and Springfield College Board of Trustees (the “Board”), hereby move, with

the assent of Plaintiff, Joyce Taylor, to dismiss the above-captioned action against the Board, in

its entirety. In support of this Motion to Dismiss, the Board states as follows:

                 1. The Board is the governing body of Defendant, Springfield College (the

                     “College”) and is not separately incorporated as a legal entity;

                 2. Plaintiff assents to such dismissal based on Defendants’ averment that

                     Defendants identified in the Complaint are not separately incorporated legal

                     entities; and

                 3. Accordingly, Plaintiff will not be prejudiced by the dismissal of the Board from

                     this action because she assents to such dismissal.

          WHEREFORE, in light of the foregoing, Defendants, Springfield College and

Springfield College Board of Trustees (the “Board”), with the assent of Plaintiff, Joyce Taylor,

respectfully move that the Court dismiss this action against the Board, without costs or attorneys’

fees to any party.


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                                                             Respectfully submitted,

                                                             Springfield College and Springfield College
                                                             Board of Trustees,

                                                             By their attorney,



                                                                   /s/ Amanda Marie Baer
                                                             Amanda Marie Baer, BBO #681386
                                                             Mirick, O’Connell, DeMallie & Lougee, LLP
                                                             1800 West Park Drive, Suite 400
                                                             Westborough, MA 01581
                                                             Phone: (508) 791-8500
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                                                             abaer@mirickoconnell.com


                                                             Assented to,

                                                             Joyce Taylor,

                                                             By her attorney,

                                                               /s/ Thomas P. Murphy
                                                             Thomas P. Murphy, BBO #630527
                                                             Tatum A. Pritchard, BBO #664502
                                                             Ginger Gates, BBO #707208
                                                             Disability Law Center, Inc.
                                                             11 Beacon Street, Suite 925
                                                             Boston, MA 02108
                                                             Phone: (617) 723-8455
                                                             tmurphy@dlc-ma.org



                                            CERTIFICATE OF SERVICE

        I, Amanda Marie Baer, hereby certify that this document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing on this date.


                                                            /s/ Amanda Marie Baer
                                                            Amanda Marie Baer, Esq.

Dated: September 16, 2022


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